Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 1 of 18 Page ID
                               #:137594
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 2 of 18 Page ID
                               #:137595
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 3 of 18 Page ID
                               #:137596
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 4 of 18 Page ID
                               #:137597
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 5 of 18 Page ID
                               #:137598
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 6 of 18 Page ID
                               #:137599
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 7 of 18 Page ID
                               #:137600
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 8 of 18 Page ID
                               #:137601
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 9 of 18 Page ID
                               #:137602
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 10 of 18 Page ID
                                #:137603
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 11 of 18 Page ID
                                #:137604
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 12 of 18 Page ID
                                #:137605
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 13 of 18 Page ID
                                #:137606
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 14 of 18 Page ID
                                #:137607
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 15 of 18 Page ID
                                #:137608
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 16 of 18 Page ID
                                #:137609
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 17 of 18 Page ID
                                #:137610
Case 2:16-cv-03714-GW-AGR Document 2112 Filed 01/29/20 Page 18 of 18 Page ID
                                #:137611
